              IN THE DISTRICT COURT OF THE UNITED STATES
             FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                          ASHEVILLE DIVISION
                          CIVIL NO. 1:16CV24-MR
                           (2:11CR22-MR-DLH-10)


MICHAEL JAMES TAYLOR,                      )
                                           )
                        Petitioner,        )
                                           )
            vs.                            )
                                           )
UNITED STATES OF AMERICA,                  )
                                           )
                        Respondent.        )
_________________________________________ )

     GOVERNMENT’S REPLY TO PETITIONER’S RESPONSE TO THE
                     MOTION TO DISMISS

      Michael James Taylor acknowledges in his response that his challenge to

application of the career offender guideline is foreclosed by Beckles v. United States,

137 S. Ct. 886, 894-95 (2017). Pet’r’s Resp. 6. His ineffective assistance claims also

should be dismissed as a matter of law because he cannot show deficient

performance and prejudice.

      Taylor misapprehends the standard for reviewing the adequacy of a 28 U.S.C.

§ 2255 motion. See id. at 2-3, 5. Applications for post-conviction relief “must meet

heightened pleading requirements.” See McFarland v. Scott, 512 U.S. 849, 856

(1994). Under the Rules Governing § 2255 Proceedings for the United States

District Courts, a motion for relief under § 2255 must not only specify all of the

grounds for relief, but also must “state facts supporting each ground.” Rule 2(b).




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The pleading requirements for a post-conviction motion are higher than those in a

civil proceeding because “[u]nlike a plaintiff pleading a case under [Federal Rule of

Civil Procedure] 8(a), the habeas petitioner ordinarily possesses, or has access to,

the evidence necessary to establish the facts supporting his collateral claim.”

Borden v. Allen, 646 F.3d 785, 810-13 (11th Cir. 2011). The government has relied

on facts from the record in its motion to dismiss, whereas Taylor has relied on

allegations made upon information and belief. But even accepting Taylor’s

allegations as true, he cannot show ineffective assistance of counsel.

      Taylor never argues that his guilty plea was involuntary. Accordingly, he

has waived his pre-plea claim of ineffective assistance of counsel by foregoing a plea

agreement that he was informed of and deciding instead to plead guilty straight-up.

See Fields v. Att’y Gen. of Md., 956 F.2d 1290, 1294-96 (4th Cir. 1992). Taylor’s

contention that the decisions in Lee v. United States, 137 S. Ct. 1958 (2017); Lafler

v. Cooper, 566 U.S. 166 (2012); Missouri v. Frye, 566 U.S. 133 (2012); and Hill v.

Lockhart, 474 U.S. 52 (1985), undercut this finding is misplaced. See Pet’r’s Resp.

4. Lee entailed a claim that a defendant would have proceeded to trial, but for

deficient advice from counsel; Lafler involved a trial, not a guilty plea; Missouri

addressed a plea offer that was not communicated to the client; and Hill concerned

a claim that the guilty plea that was entered was involuntary. None of those cases

involved a defendant who was informed of a plea offer, but chose to plead guilty

straight-up.




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      Taylor also never asserts in his § 2255 motion that, but for counsel’s alleged

deficiency, he would have insisted on going to trial, and this is not the relief that he

seeks. Instead, he asserts only that “a possibility existed defendant would have

accepted the plea bargain.” Civ. Doc. No. 1-1, at 2. Likewise, he asserts that he

potentially lost the opportunity to cooperate, which might have led to a motion for

reduction of sentence by the government. This does not show that there was a

reasonable probability that Taylor would have received a lower sentence.

Accordingly, his allegations are insufficient to show prejudice, even if Taylor hadn’t

waived this claim. See Missouri, 132 S. Ct. at 1409; Hill, 474 U.S. at 59.

      Finally, Taylor also has failed to meet his burden to show that counsel

provided ineffective assistance at sentencing. The lengthy sentencing memorandum

filed by counsel and the sentencing transcript show that counsel vigorously argued

for a lower sentence, counsel’s performance was objectively reasonable, and Taylor

cannot show that, but for counsel’s conduct, there is a reasonable probability that he

would have received a lower sentence. See Strickland v. Washington, 466 U.S. 668,

687-88, 694 (1984).

      Because Taylor has not met the burden of the heightened pleading

requirements for § 2255 motions, his motion to vacate should be dismissed.


                                   CONCLUSION

         For the foregoing reasons, the United States respectfully requests that this

Court dismiss Taylor’s motion to vacate.

RESPECTFULLY SUBMITTED this 17th day of August, 2017.


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                     JILL WESTMORELAND ROSE
                     UNITED STATES ATTORNEY

                     s/Elizabeth M. Greenough
                     Elizabeth M. Greenough, N.Y. Bar No. 2667905
                     Assistant United States Attorney
                     227 West Trade Street, Suite 1650
                     Charlotte, NC 28202
                      Telephone: 704-344-6222
                     Fax:         704-344-6229
                     Email: Elizabeth.Greenough@usdoj.gov




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                          CERTIFICATE OF SERVICE

       I certify that I caused to be served a copy of the above Reply upon the
Petitioner by serving his attorney of record through electronic case filing.

    This 17th day of August, 2017.



                                 s/Elizabeth M. Greenough
                                 Assistant United States Attorney
                                 USAO Charlotte, NC




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